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 3   Suite 111
     Sacramento, CA 95818
 4

 5                  UNITED STATES DISTRICT COURT FOR THE
 6                       EASTERN DISTRICT OF CALIFORNIA
 7

 8   United States of America,          ) Case No.: Cr. S. 04-305 DFL
                                        )
 9              Plaintiff,              )
                                        ) Date: June 7, 2007
10        vs.                           ) Time: 10:00 a.m.
                                        ) Court: Hon. David F. Levi
11   Martin Isias, et. al.,             )
                                        ) Stipulation & Order to Continue
12              Defendant.              ) Judgment & Sentencing
                                        )
13

14        On February 9, 2007 Martin Isias pled guilty to Count Two
15   of a 21 count third superseding indictment.        Martin Isias is
16   currently scheduled to be sentenced on May 3, 2007.          There are
17   several sentencing issues which will require the defense to
18   present documentation to the probation office.
19        Therefore Mr. Isias requests that his judgment and
20   sentencing be continued to June 7, 2007 if that date is
21   available with the Court.     The government and the probation
22   office have no objection to this request.        The parties request
23   the following schedule:
24        Informal Objections      –   May 10, 2007
25        Final Report             -   May 17, 2007
26        Sentencing Memorandum -      May 24, 2007
27        Reply or Opposition      -   May 31, 2007
28        Judgment & Sentencing -      June 7, 2007



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 2   Dated: April 16, 2007          Respectfully submitted,
 3

 4                                        __/s/ Shari Rusk_____________
                                          Shari Rusk
 5                                        Attorney for Defendant
                                          Martin Isias
 6

 7
                                           /s/ Phil Ferrari_______
 8    Dated: April 16, 2007               Phil Ferrari
                                          Assistant United States Attorney
 9

10                                         _
11                                ORDER
12
          It is so ordered.       The judgment and sentencing in this
13
     matter will be calendared for June 7, 2007.
14

15
     Dated:      April 20, 2007                  ___
16                                     /s/ David F. Levi_________________
                                       Hon. David F. Levi
17                                     United States District Court Judge
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